Case 2:10-md-02179-CJB-DPC Document 12182-7 Filed 01/17/14 Page1of5

[FEB O 4703
@ a}

CG: “Cantor,-Daniel A.” <Daniel.Cantex@APORTER, COM>, a
Sy ony ¢

“jandry@andrylawgroup.com" <jandry@andrylawaroup.com>
Subjest: BP's Final Propesal - Claim No. 19691 - Casey Thonn
Date: Mon, 4 Feb 2023 21:14:54 -0500

To: "DDuval€dheclaims,com" <DDuval@dheclaims.com>, "4 goodwindbrowngreér.com"
<jgvodwintbrowngreer.com>,

"ClaimForms€deepwaterhori zonecanomicsertlement.com"
<ClaimFormstdeepwaterhorizoneconomicsettLement. com>

From: "“Warlick, Sarah B." <Sarah,Warlick@aporte: com>

Transaction Date (UTC): 2013-02-05 02:15:08

Original Requestor: Satah.Warlick@aporter.com

Mr. Duval,

Please find enclosed BP's Final Proposal with réspect to the appeal of claim
mambex 19691 - Casey Thonn.

Kind regards,
Sarah

Sarah BE. Warlick

Arnold & Porter LL?

“555 Twelfth Street, NW

Washington, DC 20004-1206

Telephone: +1 202.942.6409

sarah .warlick@aporter.com<mailto: sarah.warlick@aporter. com>
www. arnoldporter.comthttp: //www.arnoldportert. com>

0.5. Treasury Circular 230 Notice

Any U.S. federal tax advice included in this communication {including any
attachments) was not intended ax written to be used, and cannct be used, for
che purpose of (i) avoiding U.5. federal tax-relatea penalties or (ii)

promoting, marketing or recommending to another party any tax~related matter
addressed herein. .

This communication may contain information that is Legally privileged,
confidential ox exempt from disclosure. If you are not the intended
tecipient, please note that any dissemination, distribution, or copying of
this commmnication is strictly prohibited. Anyone who receives this message
dn errox should notify the sender immediately by telephone or by return e-
mail and delete it from his or her computer.

SR ed eee Sm ys a ee al ee he A hs ppc

Far more information ahout Arnold & Porter LEP, click here :
http://www. arnoldporter.coam

Ve Q

then

oe
i

Case 2:10-md-02179-CJB-DPC Document 12182-7 Filed 01/17/14 Page 2of5

BP'S FINAL PROPOSAL REGARDING CLAIM NO. 19691

BP Exploration & Production Inc. (“BP”) respectfully submits this Memorandum in
Support of Its Final Proposal with regard to the appeal of Claim No. 19691 by the Claimant
(Casey Thonn). The Claimant is appealing that @ the Settlement Program incorrectly applied
the Seafood Compensation Framework’s Shrimp Compessation formula, (2) the Settlement
Program deducted Claimant’s prior seafood-related payment twice, and (3) the Settlement
Program did not accurately calculate the Claimant’s Accounting Support Reimbursement.

As BP explained in its Initial Proposal, the Settlement Program correctly calculated both
Claimant’s Compensation Amount and the Claimant's prior payment offset. BP also explained
that it agrees that the Settlement Program miscalculated the Claimant’s Accounting Support
Reimbursement, bat that the Claimant is only entitled. to $1,000, not the more than $10,000 it is
requesting. BP, therefore, submits a Final Proposal Compensation Amount of $22,932.06 and

Final Proposal Prior Payment Offset of $72,500,

EXPLANATION OF BP’s POSITION

A, The Settlement Propram Correctly Calculated Claimant’s Compensation Amount

The claim at issue is a Seafood Program shrimp boat captain clains for the vessel Boss
Hoss (Hull ID LAZ62111E101}. This claim is governed by the Seafood Compensation
Framework’s Shrimp Compensation Plan (the “Plan”). Settlement Agreement, Exhibit 10. As
part of the calculation ofa Claimant’s Compensation Amount, the Settlement Program must
determine the amount of costs, if any, to deduct from a claimant’s revenue. If the Settlement
Program used a claimant’s gross revenue as a claimant’s Benchmark Revenue, then it must
calculate Benchmark Costs. Jd. at 22. The claimant's Benchmark Revenue is multiplied by a

Shrimp Cost Percentage to determine a claimant’s Benchmark Shrimp Cost. Jd. According to

Case 2:10-md-02179-CJB-DPC Document 12182-7 Filed 01/17/14 Page 3of5

the Plan, the Shrimp Cost Percentage is “expressed as a percentage of revenue and reflects
standard industry non-labor variable costs.” JZ The resulting Benchmark Shrimp Cost is then
subtracted from the Claimant’s gross revenue. However, ifa claimant’s earnings are used for
Benchmark Revenue, the Program does not need to calculate or subtract any additional costs. Jd.
This makes economic sense. Gross revenue is a claimant’s revenue before any deductions for
variable costs are applied. A claimant's earnings, on the other hand, already include deductions
for variable costs and do not need to have additional costs subtracted from them,

According to the Claimant, however, he should not have any Benchmark Costs deducted
from his gross Benchmark Revere. In his Initial Proposal, the Claimant argued that simply
because he is a Boat Captain and he used tax returns for his financial data that the Shrimp Cost
Percentage should not be used to calculate and then daduct Benchmark Costs from his gross
revenus. Claimant’s Memorandum in Support of Appeal atl. The Claimant has misinterpreted
the Settlement Agreement. The Agreement states that the Benchmark Cast calculation should
only be skipped if, “the Claimant i is a Boat Captain and Benchmark Revere was calculated
based upon his earnings, such as from tax retum|[s] or financial information.” Jd, (emphasis
added). To be exempt from the Benchmark Cost calculation, therefore, a clairn must satisfy a
two-part test: (1} it must be a Boat Captain claim and (2} Benchmark Revenue must be based on
a Claimant’s earnings.

The Claimant's Boat Captain claim does not satisfy this test. The Program used
Claimant’s gross revenue — not its earnings -- ag Clatinant’s Benchmark Revenue. Specifically,
the Settlement Program used Claimant's 2009 gross revenue of $156,000, indicated on his
federal tax return as “Gross income.” Claimant’s 2009 Fsonm 1040, Schedule , aitached to BP

Tnitial Proposal as Exhibit 1. The Settlement Program, therefore, properly applied the Shrirap

Case 2:10-md-02179-CJB-DPC Document 12182-7 Filed 01/17/14 Page 4of5

Cost Percentage to Claimant’s Benchmark Revenue, to:determine and then subtract Claimant’s

Benchmark Costs from his gross revenue,!

B. ‘The Settlement Program Properly Deducted Claimant’s Prior Seafood Spiil-Related
Payments

According to the Seafood Compensation Framework, “[clompensation received by an
eligible Claimant under the Seafood Compensation Program will be reduced by the amount of
prior Seafood Spill-Related Payments...” Settlement Agreement, Ex. 10 at 3. In order to apply
this requirement, the Settlement Agreement instructs that “[t}he Claims Administrator shall
offset any compensation under the Seafood Compensation Program by the total of the Seafood
Spill-Related Payment amount.” Jd. at 85. The Agreement defines Seafood Spill-Related
Payments as “compensation paid to a claimant through the OPA Process, by BP, the GCCF, or
through the Transition Facility for economic joss claims relating to Seafood.” Jd atn. 3.

The Settlement Agreement has only applied.the prior payment offset once. Although
the Eligibility Notices for Claimant’s Boat Captain Claim (No. 19691) and Vessel Owner Claim
(No. 19690) both include a prior payment offset of $72,500, the “Summary of All Eligible
Seafood Compensation Program Ciaims” on these Eligibility Notices only apply the offset once,

©. ‘The Claimant is Only Entitled to Accounting Support Reimbursement of $1,000

The Settlement Agreement provides for Accounting Support Reimbursements to
reimburse claimants for “reasonable and nécessary accounting fee§ related to Claims
preparation,” Settlement Agreement § 4.4.13. A Business Claimant’s reimbursement, “may not -
exceed 2% of the total Economic Damage Compensation Amount (excluding RTP) for business

Claims over $50,000 with all other Claims limited to $1000.” Jd. at 4.4.13.8. A Business

' The accounting report submitted with Claimant's original claim is also in agreement with the

Settlement Program’s calculation. See Coastal Claims Group Report at 8, attached to BP Initial
Proposal as Exhibit 2.

Case 2:10-md-02179-CJB-DPC Document 12182-7 Filed 01/17/14 Page 5o0f5

Claimant is defined as, “an Entity, or a sel@employed Natural Person who filed a Form 1640
Schedule €, E or F, which or who is an Economic Class Member Claiming Economic Damage
allegedly arising out of...the Deepwater Horizon Incident.” fd, at § 38.15.

The record evidence indicates that Clittaaint filed 4 Schedule C and is, therefore, entitled
to accounting support reirabursement as a Business Claimant. AS a Business Claimant with a
pre-RTP Compensation Amount of less than $50,000, reimbursement is capped at 51,000,
Therefore, BP subniits that Claimant is eligible for an Accountin ¢ Support Reimbursement
Payment of $1,000.

HK

In light of the above, BP agrees with the Settlement Program’s caloulation of Claimant's
Compensation Amount. BP, therefore, submits a Final Proposal Compensation Amount of
522,932.00, the amount the Claimant is entitled to according to the terms of the Settlement
Agreement’s Seafood Compensation Framework, Additionally, BP agrees that Claimant's Prior
Seafood Spill-Related Payments should only be applied once, but without evidence that this
offset has been applied to other Claims for which the Program has issued payrnent, BP submits a
Final Proposal Prior Payment Offset of $72,500, Finally, BP submits that Claimant is entitled to

Accounting Support Reimbursement of $1,000.

